         Case 8:18-bk-14112-ES          Doc 39 Filed 04/10/19 Entered 04/10/19 10:19:51                   Desc
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1    PETER C. ANDERSON
     UNITED STATES TRUSTEE
2    Frank M. Cadigan (Bar No. 095666)                                          FILED & ENTERED
     Assistant U.S. Trustee
3    Ronald Reagan Federal Building &
     United States Courthouse                                                         APR 10 2019
4
     411 West Fourth Street, Suite 7160
     Santa Ana, CA 92701-8000
5                                                                                CLERK U.S. BANKRUPTCY COURT
     Telephone: (714) 338-3400                                                   Central District of California

6
     Facsimile: (714) 338-3421                                                   BY duarte     DEPUTY CLERK

     Email: frank.cadigan@usdoj.gov
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8
                                      UNITED STATES BANKRUPTCY COURT
9                                      CENTRAL DISTRICT OF CALIFORNIA
                                             SANTA ANA DIVISION
10
      In re:                                                    CASE NUMBER: 8:18-bk-14112-ES
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12    JOSEPH JOHN MUNOZ and                                     CHAPTER 7
      MARIA MUNOZ,
13
                                                                ORDER APPROVING SECOND STIPULATION
                                                                BY AND BETWEEN THE UNITED STATES
14                                                              TRUSTEE, THE CHAPTER 7 TRUSTEE AND
                                                                DEBTORS BY AND THROUGH THEIR
15                                                              RESPECTIVE ATTORNEYS OF RECORD TO
                                                                EXTEND THE DEADLINE FOR THE UNITED
16                                                              STATES TRUSTEE AND THE CHAPTER 7
                                    Debtors.                    TRUSTEE TO FILE COMPLAINTS
17                                                              OBJECTING TO DISCHARGE UNDER AND
                                                                PURSUANT TO 11 U.S.C. §727 AND F.R.B.P.
18                                                              RULE 4004(b)(1)

19                                                              [NO HEARING REQUIRED]
20             The Court, having read and considered the Stipulation between the parties to extend the deadline
21
     for the United States Trustee and Chapter 7 Trustee to object to the Debtors’ discharge under and pursuant
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     to 11 U.S.C. §727 filed on April 9, 2019 [Docket #38], and for good cause shown:
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               IT IS ORDERED:
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25             1. The Stipulation is approved.

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       2. The deadline for the United States Trustee and the Chapter 7 Trustee to object to the Debtors’
1

2         discharge, under and pursuant to 11 U.S.C. §727, and F.R.B.P. 4004(b)(1) is extended from the

3         current deadline of May 20, 2019 to and including August 20, 2019.
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24       Date: April 10, 2019

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